  Case 4:25-cv-10018-JEM Document 1-2 Entered on FLSD Docket 02/20/2025 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the



                       Sean D'Epagnier                          )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                              )
                                                                        Civil Action No.
                Michal Brablc, individually,                    )
              Scott Standerwick, individually,
              Monroe County Sheriff's Office                    )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CML ACTION
   .           ,                    Scott Standerwick
T o. (Defendant s name and address)
                                    1604 N Roosevelt Blvd.
                                    Key West, Florida 33040




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
  Case 4:25-cv-10018-JEM Document 1-2 Entered on FLSD Docket 02/20/2025 Page 2 of 3

AO 440 (Rev. 06/12) Swnmons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the



                       Sean D'Epagnier                          )
                                                                )
                                                                )
                                                                )
                           Pla intiff(s)                        )
                                v.                              )       Civil Action No.
                                                                )
               Michal Brablc, individually,
             Scott Standerwick, individually,
                                                                )
             Monroe County Sheriff' s Office                    )
                                                                )
                                                                )
                          Defendant(s)                          )

                                                SUMMONS IN A CML ACTION

To.. (Defendants. name and address) Michal Brablc
                                    1604 N Roosevelt Blvd.
                                    Key West, Florida 33040




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
  Case 4:25-cv-10018-JEM Document 1-2 Entered on FLSD Docket 02/20/2025 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida    [:)

                       Sean D'Epagnier                            )
                                                                  )
                                                                  )
                                                                  )
                            Plai ntiff(s)                         )
                                 v.                               )       Civil Action No.
                                                                  )
                 Michal Brablc, individually,
               Scott Standerwick, individually,                   )
               Monroe County Sheriffs Office                      )
                                                                  )
                                                                  )
                           De fendant(s)                          )

                                                 SUMMONS IN A CML ACTION
                                  ,i Monroe County Sheriffs Office
To.• 11v 1 da t's nam a,iu
       , ...           _., address/
                                     5525 College Rd
        e en   n       e



                                     Key West, FL 33040




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                        Sean D'Epagnier
                                        13611 Willamette Dr
                                        Westminster CA, 92683

                                        820-216-7645
                                        seandepagnier@gmail.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                             CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
